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                                              35
Fill in this information to identify the case:

Debtor name           RIC (Austin), LLC

United States Bankruptcy Court for the:                      WESTERN DISTRICT OF TEXAS

Case number (if known)                  24-10264
                                                                                                                                                                                  Check if this is an
                                                                                                                                                                                      amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                   $      51,148,826.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                      $       1,353,058.59

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                     $      52,501,884.59


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $    149,774,559.05


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       3,361,983.22


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                            $        153,136,542.27




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                                35
Fill in this information to identify the case:

Debtor name          RIC (Austin), LLC

United States Bankruptcy Court for the:      WESTERN DISTRICT OF TEXAS

Case number (if known)         24-10264
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest
2.         Cash on hand                                                                                                                                    $0.00



3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     TD Canada Trust                                   Checking                              8363                                 $896,756.43




           3.2.     Bank of America                                   Checking                              9390                                 $415,960.25




           3.3.     M&T Bank                                          Checking                              7950                                           $0.00




           3.4.     M&T Bank                                          Checking                              7943                                           $0.00



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                $1,312,716.68
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                       page 1
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                                                35
Debtor            RIC (Austin), LLC                                                  Case number (If known)
                  Name


      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepaid insurance                                                                                         $39,341.91




9.         Total of Part 2.                                                                                               $39,341.91
           Add lines 7 through 8. Copy the total to line 81.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

Part 4:           Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.
           General description                Date of the last       Net book value of      Valuation method used   Current value of
                                              physical inventory     debtor's interest      for current value       debtor's interest
                                                                     (Where available)

19.        Raw materials

20.        Work in progress

21.        Finished goods, including goods held for resale

22.        Other inventory or supplies
           Building products (tile,
           piping, steel, lighting,
           exterior sheeting, wall
           panels, studs, cinder
           blocks, rebar, etc.)                                                Unknown                                          Unknown




23.        Total of Part 5.                                                                                                      $0.00
           Add lines 19 through 22. Copy the total to line 84.

24.        Is any of the property listed in Part 5 perishable?
            No
            Yes

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                               page 2
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                                              35
Debtor       RIC (Austin), LLC                                                              Case number (If known)
             Name

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                                Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Desks, chairs, tables                                                      Unknown                                            Unknown


          Miscellaneous obsolete office furniture                                         $0.00                                         Unknown


          Quiet pod, safe                                                            Unknown                                            Unknown



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software

42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                 $0.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
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Debtor       RIC (Austin), LLC                                                           Case number (If known)
             Name

          General description                                          Net book value of             Valuation method used    Current value of
          Include year, make, model, and identification numbers        debtor's interest             for current value        debtor's interest
          (i.e., VIN, HIN, or N-number)                                (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Fitness equipment                                                        Unknown                                                Unknown


          Uninstalled air handlers, dampers, levers,
          elevator components, exhaust fans, roof vents,
          electrical breakers and other building equipment                         Unknown                                                Unknown




51.       Total of Part 8.                                                                                                                 $0.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
           No
           Yes
53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
           No
           Yes
Part 9:      Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and             Net book value of             Valuation method used   Current value of
          property                              extent of              debtor's interest             for current value       debtor's interest
          Include street address or other       debtor's interest      (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1.
                  3443 Ed Bluestein
                  Blvd.                         Fee simple                                                Tax records              $51,148,826.00




56.       Total of Part 9.                                                                                                       $51,148,826.00
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.

57.       Is a depreciation schedule available for any of the property listed in Part 9?
           No
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                              page 4
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Debtor        RIC (Austin), LLC                                                            Case number (If known)
              Name


            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of          Valuation method used   Current value of
                                                                        debtor's interest          for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties
           Construction permits, regulatory approvals                               Unknown                                            Unknown



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property
           Construction, development, architectural designs
           and plans.                                                               Unknown                                            Unknown



65.        Goodwill

66.        Total of Part 10.                                                                                                             $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                           Current value of
                                                                                                                           debtor's interest


71.        Notes receivable
           Description (include name of obligor)

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5
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Debtor      RIC (Austin), LLC                                                       Case number (If known)
            Name



72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)
         Causes of action against Panache Development and
         affiliates, et al.                                                                                    Unknown
         Nature of claim
         Amount requested                                      $0.00



         Causes of action against subcontractors                                                               Unknown
         Nature of claim
         Amount requested                                      $0.00


         Causes of action against Central Texas Regional Mobility
         Authority for condemnation / taking                                                                   Unknown
         Nature of claim
         Amount requested                                      $0.00



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims
         Travis County Appraisal District property tax appellate
         procedures                                                                                            Unknown
         Nature of claim
         Amount requested                                      $0.00



76.      Trusts, equitable or future interests in property
         Property interest and related claims against third parties
         affiliated with and/or including Panache Development and
         Adam Zarafshani for Debtor property held                                                              Unknown



77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

         unfunded capital contribution                                                                        $1,000.00




78.      Total of Part 11.                                                                                   $1,000.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property               page 6
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                                               35
Debtor          RIC (Austin), LLC                                                                                   Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                        $1,312,716.68

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $39,341.91

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                     $51,148,826.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                    $1,000.00

91. Total. Add lines 80 through 90 for each column                                                         $1,353,058.59            + 91b.           $51,148,826.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $52,501,884.59




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 7
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                                                35
Fill in this information to identify the case:

Debtor name          RIC (Austin), LLC

United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

Case number (if known)               24-10264
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    ACM Services, LLC                            Describe debtor's property that is subject to a lien                    $3,897.00         $51,148,826.00
       Creditor's Name                              3443 Ed. Bluestein Blvd. - 101.6497 acres - raw
                                                    land and improvements
       P O Box 1208
       Taylor, TX 76574
       Creditor's mailing address                   Describe the lien
                                                    Mechanic's Lien
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative
       priority.                                     Disputed




2.2    AFMN Investments, LLC                        Describe debtor's property that is subject to a lien                    Unknown           $51,148,826.00
       Creditor's Name                              All Assets
       625 Norwood Tower
       114 West 7th Street
       Austin, TX 78701-3000

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 6
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                                              35
Debtor      RIC (Austin), LLC                                                                     Case number (if known)
            Name

      Creditor's mailing address                  Describe the lien
                                                  Deed of Trust
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                    Disputed

2.3   Austin GC Construction Inc.                 Describe debtor's property that is subject to a lien                     $168,000.00   $51,148,826.00
      Creditor's Name                             3443 Ed. Bluestein Blvd. - 101.6497 acres - raw
      901 S. Mopac Expressway                     land and improvements
      Suite 410
      Austin, TX 78746
      Creditor's mailing address                  Describe the lien
                                                  Mechanic's Lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                    Disputed


      Central Texas Regional
2.4                                                                                                                          Unknown     $51,148,826.00
      Mobility Authorit                           Describe debtor's property that is subject to a lien
      Creditor's Name                             3443 Ed. Bluestein Blvd. - 101.6497 acres - raw
      State of Texas                              land and improvements
      3300 N. Interstate 35
      Frontage Rd.
      Austin, TX 78705
      Creditor's mailing address                  Describe the lien
                                                  Lis Pendens
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 6
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                                              35
Debtor      RIC (Austin), LLC                                                                     Case number (if known)
            Name

       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                    Disputed


      Panache Development and
2.5                                                                                                                  $10,063,705.69   $51,148,826.00
      Construction, In                            Describe debtor's property that is subject to a lien
      Creditor's Name                             3443 Ed. Bluestein Blvd. - 101.6497 acres - raw
                                                  land and improvements
      P O Box 26539
      Austin, TX 78755
      Creditor's mailing address                  Describe the lien
                                                  Mechanic's Lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                    Disputed


      Romspen Mortgage Limited
2.6                                                                                                                  $87,171,533.77   $51,148,826.00
      Partnership                                 Describe debtor's property that is subject to a lien
      Creditor's Name                             All assets
      Two North Central Avenue,
      Suite 2100
      Phoenix, AZ 85004-4533
      Creditor's mailing address                  Describe the lien
                                                  Deed of Trust
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.




      Romspen Mortgage Limited
2.7                                                                                                                  $51,444,027.44   $51,148,826.00
      Partnership                                 Describe debtor's property that is subject to a lien
      Creditor's Name                             All Assets
      Two North Central Avenue,
      Suite 2100
      Phoenix, AZ 85004-4533
      Creditor's mailing address                  Describe the lien


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3 of 6
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                                              35
Debtor      RIC (Austin), LLC                                                                     Case number (if known)
            Name

                                                  Deed of Trust
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.8   Summer Legacy, LLC                          Describe debtor's property that is subject to a lien                     $149,857.65   $51,148,826.00
      Creditor's Name                             3443 Ed. Bluestein Blvd. - 101.6497 acres - raw
                                                  land and improvements
      P O Box 26539
      Austin, TX 78755
      Creditor's mailing address                  Describe the lien
                                                  Mechanic's Lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                    Disputed


      Sunstate Equipment
2.9                                                                                                                         $23,085.74   $51,148,826.00
      Company LLC                                 Describe debtor's property that is subject to a lien
      Creditor's Name                             3443 Ed. Bluestein Blvd. - 101.6497 acres - raw
                                                  land and improvements
      5552 East Washington St.
      Phoenix, AZ 85007-2000
      Creditor's mailing address                  Describe the lien
                                                  Mechanic's Lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 4 of 6
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                                               35
Debtor       RIC (Austin), LLC                                                                     Case number (if known)
             Name

        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative
       priority.                                    Disputed


2.1
0      Texas Air Industries, Inc.                  Describe debtor's property that is subject to a lien                      $71,740.71         $51,148,826.00
       Creditor's Name                             3443 Ed. Bluestein Blvd. - 101.6497 acres - raw
                                                   land and improvements
       P O Box 141172
       Austin, TX 78741
       Creditor's mailing address                  Describe the lien
                                                   Mechanic's Lien
                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative
       priority.                                    Disputed


2.1
1      Travis County Tax Office                    Describe debtor's property that is subject to a lien                     $678,711.05         $51,148,826.00
       Creditor's Name                             3443 Ed. Bluestein Blvd. - 101.6497 acres - raw
                                                   land and improvements
       850 E. Anderson Ln.
       Austin, TX 78752
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.




                                                                                                                         $149,774,559
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   .05

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 5 of 6
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                                             35
Debtor    RIC (Austin), LLC                                                  Case number (if known)
          Name

      Name and address                                                               On which line in Part 1 did       Last 4 digits of
                                                                                     you enter the related creditor?   account number for
                                                                                                                       this entity




Official Form 206D        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 6 of 6
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                                               35
Fill in this information to identify the case:

Debtor name        RIC (Austin), LLC

United States Bankruptcy Court for the:         WESTERN DISTRICT OF TEXAS

Case number (if known)           24-10264
                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $597.93
          Airco Mechanical Ltd.                                              Contingent
          P O Box 1598                                                       Unliquidated
          Round Rock, TX 78680-1598                                          Disputed
          Date(s) debt was incurred 3/6/2024
                                                                            Basis for the claim: Services Provided
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $227.33
          AREM                                                               Contingent
          P O Box 170191                                                     Unliquidated
          Austin, TX 78717                                                   Disputed
          Date(s) debt was incurred 2/15/2024
                                                                            Basis for the claim: Services Provided
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $104.97
          ATX Alarm Company                                                  Contingent
          820 Marbella Vista Way                                             Unliquidated
          Leander, TX 78641                                                  Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Services Provided
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $1,395.60
          Austin Porta Potty Rentals                                         Contingent
          212 N Blue Ridge Pkwy.                                             Unliquidated
          Cedar Park, TX 78613                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Services Provided
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 4
                                                                                                          24395
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                                               35
Debtor      RIC (Austin), LLC                                                               Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $17,214.76
         City of Austin                                             Contingent
         P O Box 2267                                               Unliquidated
         Austin, TX 78783-2267                                      Disputed
         Date(s) debt was incurred 2/25/2024
                                                                   Basis for the claim: Utilities
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $92,049.99
         CNA Insurance                                              Contingent
         P O Box 74007619                                           Unliquidated
         Chicago, IL 60674-7619                                     Disputed
         Date(s) debt was incurred 1/24/2024
                                                                   Basis for the claim: Insurance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,700.00
         D & G Tree and Landscaping Services                        Contingent
         309 Amanecer Dr.                                           Unliquidated
         Lockhart, TX 78644                                         Disputed
         Date(s) debt was incurred 2/15/2024
                                                                   Basis for the claim: Services Provided
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,710.00
         MJ Structures, PLLC
         Richard Martin                                             Contingent
         3005 South Lamar Blvd.                                     Unliquidated
         Ste. D109 #467                                             Disputed
         Austin, TX 78704
                                                                   Basis for the claim: Services Provided
         Date(s) debt was incurred 2/16/2024
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,181,293.70
         Panache Development and Construction Inc                   Contingent
         P O Box 26539
         Austin, TX 78755                                           Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: Services Provided

                                                                   Is the claim subject to offset?  No       Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,153.73
         Pro-Vigil Inc.                                             Contingent
         P O Box 677107                                             Unliquidated
         Dallas, TX 75267-7107                                      Disputed
         Date(s) debt was incurred 2/15/2024
                                                                   Basis for the claim: Services Provided
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $14,289.00
         Ranger Security Agency, LLP                                Contingent
         1258 Chad Dr.                                              Unliquidated
         Round Rock, TX 78665                                       Disputed
         Date(s) debt was incurred 2/24/2004
                                                                   Basis for the claim: Services Provided
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 4
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                                               35
Debtor       RIC (Austin), LLC                                                                      Case number (if known)
             Name

3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $12,896.82
          Shermco Industries Inc.                                           Contingent
          2425 East Pioneer Dr.                                             Unliquidated
          Irving, TX 75061                                                  Disputed
          Date(s) debt was incurred 2/16/2024
                                                                           Basis for the claim: Services Provided
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.13      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $347.34
          Spectrum Business                                                 Contingent
          P O Box 60074                                                     Unliquidated
          City of Industry, CA 91716                                        Disputed
          Date(s) debt was incurred 3/5/2024
                                                                           Basis for the claim: Services Provided
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.14      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $216.82
          Texas Disposal Systems                                            Contingent
          P O Box 574080                                                    Unliquidated
          Dallas, TX 75267                                                  Disputed
          Date(s) debt was incurred 2/28/2024
                                                                           Basis for the claim: Services Provided
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.15      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $249.42
          Texas Gas Service                                                 Contingent
          P O Box 219913                                                    Unliquidated
          Kansas City, MO 64121                                             Disputed
          Date(s) debt was incurred 2/29/2024
                                                                           Basis for the claim: Utilities
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.16      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $345.32
          The Bug Master                                                    Contingent
          1912 Smith Rd.                                                    Unliquidated
          Austin, TX 78721                                                  Disputed
          Date(s) debt was incurred 2/29/2024
                                                                           Basis for the claim: Services Provided
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.17      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $33,190.49
          The Montgomery Design Consultancy, LLC                            Contingent
          P O Box 300939                                                    Unliquidated
          Austin, TX 78703                                                  Disputed
          Date(s) debt was incurred 2/15/2024
                                                                           Basis for the claim: Services Provided
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 4
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                                              35
Debtor      RIC (Austin), LLC                                      Case number (if known)
            Name

5a. Total claims from Part 1                                          5a.       $                   0.00
5b. Total claims from Part 2                                          5b.   +   $           3,361,983.22

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                               5c.       $             3,361,983.22




Official Form 206 E/F           Schedule E/F: Creditors Who Have Unsecured Claims                            Page 4 of 4
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                                               35
Fill in this information to identify the case:

Debtor name        RIC (Austin), LLC

United States Bankruptcy Court for the:      WESTERN DISTRICT OF TEXAS

Case number (if known)         24-10264
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Rental Agreement
             lease is for and the nature of
             the debtor's interest

                State the term remaining          month-to-month
                                                                                    Austin Porta Potty Rentals
             List the contract number of any                                        212 N Blue Ridge Pkwy
                   government contract                                              Cedar Park, TX 78613


2.2.         State what the contract or           Service Order Form and
             lease is for and the nature of       Surveillance Service
             the debtor's interest                Agreement Terms and
                                                  Conditions
                State the term remaining          Month-to-mont
                                                                                    Pro-Vigil, Inc.
             List the contract number of any                                        P O Box 677107
                   government contract                                              Dallas, TX 75267


2.3.         State what the contract or           Agreement for Security
             lease is for and the nature of       Services
             the debtor's interest

                State the term remaining          December 2024, 30-day             Ranger Security Agency, LLC
                                                  cancellation                      5555 North Lamar Blvd.
             List the contract number of any                                        Ste. L 119
                   government contract                                              Austin, TX 78751


2.4.         State what the contract or           Front Load Dumpster
             lease is for and the nature of       Service Agreement
             the debtor's interest

                State the term remaining          January 2027
                                                                                    Texas Disposal Systems, Inc.
             List the contract number of any                                        P. O. Box 17126
                   government contract                                              Austin, TX 78760




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 2
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                                               35
Debtor 1 RIC (Austin), LLC                                                        Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.5.      State what the contract or        General Pest Control
          lease is for and the nature of    Service Agreement -
          the debtor's interest             F&H

             State the term remaining
                                                                          The Bug Master
          List the contract number of any                                 1912 Smith Road
                government contract                                       Austin, TX 78721


2.6.      State what the contract or        General Pest Control
          lease is for and the nature of    Service Agreement -
          the debtor's interest             Rodent Bait Stations

             State the term remaining
                                                                          The Bug Master
          List the contract number of any                                 1912 Smith Road
                government contract                                       Austin, TX 78721


2.7.      State what the contract or        General Pest Control
          lease is for and the nature of    Service Agreement - V
          the debtor's interest

             State the term remaining
                                                                          The Bug Master
          List the contract number of any                                 1912 Smith Road
                government contract                                       Austin, TX 78721


2.8.      State what the contract or        Standard Form of
          lease is for and the nature of    Agreement between
          the debtor's interest             Owner and Architect

             State the term remaining       Cancellable with 7 days
                                            notice                        The Montgomery Design Consultancy
          List the contract number of any                                 1201 W. 24th St., #105
                government contract                                       Austin, TX 78705




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                  Page 2 of 2
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                                             35
Fill in this information to identify the case:

Debtor name      RIC (Austin), LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF TEXAS

Case number (if known)      24-10264
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                         Mailing Address                                         Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Adam Zarafshani                                                                      Romspen Mortgage                D       2.6
                                                                                               Limited Partnership              E/F
                                                                                                                               G



   2.2    Adam Zarafshani                                                                      Romspen Mortgage                D       2.7
                                                                                               Limited Partnership              E/F
                                                                                                                               G



   2.3    Panache                      P O Box 26539                                           ACM Services, LLC               D       2.1
          Development and              Austin, TX 78755                                                                         E/F
          Construction, In
                                                                                                                               G



   2.4    Panache                      P O Box 26539                                           Austin GC                       D       2.3
          Development and              Austin, TX 78755                                        Construction Inc.                E/F
          Construction, In
                                                                                                                               G



   2.5    Panache                      P O Box 26539                                           Summer Legacy, LLC              D       2.8
          Development and              Austin, TX 78755                                                                         E/F
          Construction, In
                                                                                                                               G



Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 2
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                                            35
Debtor    RIC (Austin), LLC                                                       Case number (if known)



         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Panache                  P O Box 26539                                       Sunstate Equipment           D      2.9
          Development and          Austin, TX 78755                                    Company LLC                   E/F
          Construction, In
                                                                                                                    G



  2.7     Panache                  P O Box 26539                                       Texas Air Industries,        D      2.10
          Development and          Austin, TX 78755                                    Inc.                          E/F
          Construction, In
                                                                                                                    G




Official Form 206H                                              Schedule H: Your Codebtors                                   Page 2 of 2
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                                              35



Fill in this information to identify the case:

Debtor name         RIC (Austin), LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF TEXAS

Case number (if known)         24-10264
                                                                                                                                Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:      Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,             Sources of revenue                          Gross revenue
      which may be a calendar year                                                     Check all that apply                        (before deductions and
                                                                                                                                   exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                       Description of sources of revenue           Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.1.
             See Exhibit SOFA 3                                                                            $0.00        Secured debt
                                                                                                                        Unsecured loan repayments
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 1
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                                              35
Debtor       RIC (Austin), LLC                                                                  Case number (if known)



      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    See Exhibit SOFA 4                                                                           $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Central Texas Regional Mobility          Condemnation                Probate Court of Travis                     Pending
              Authority and The State of                                           County, Texas                               On appeal
              Texas vs. MOS8 GP LLC
                                                                                                                               Concluded
              C-1-CV-15-010397

      7.2.    ACM Services, LLC, et al vs.             Debt                        201st Judicial District Court of            Pending
              Panache Development and                                              Travis                                      On appeal
              Construction, Inc., et al
                                                                                                                               Concluded
              D-1-GN-23-007379

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
              Recipient's name and address             Description of the gifts or contributions                 Dates given                            Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
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Debtor      RIC (Austin), LLC                                                                     Case number (if known)




      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received               If not money, describe any property transferred              Dates                Total amount or
               the transfer?                                                                                                                         value
               Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
               Address                                                                                             Dates of occupancy
                                                                                                                   From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care


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Debtor      RIC (Austin), LLC                                                                    Case number (if known)



Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
      Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

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Debtor      RIC (Austin), LLC                                                                   Case number (if known)



     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Elm Development
                    1931 Highway 7
                    Concord, ON L4K1V5
      26a.2.        Romspen (Reomaster) Holdings Inc.
                    162 Cumberland St., Ste. 300
                    Toronto, ON M5R 3N5
                    CANADA

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.


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Debtor      RIC (Austin), LLC                                                                   Case number (if known)



           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Elm Development
                    1931 Highway 7
                    Concord, ON L4K 1V5
                    CANADA
      26c.2.        Romspen (Reomaster) Holdings Inc.
                    162 Cumberland St., Ste. 300
                    Toronto, ON M5R 3N5
                    CANADA

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Romspen (Reomaster)                     162 Cumberland St., Ste. 300                        Managing Member / Equity                  75%
      Holdings Inc.                           Toronto, ON M5R 3N5
                                              CANADA


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      No
          Yes. Identify below.

      Name                                    Address                                             Position and nature of any           Period during which
                                                                                                  interest                             position or interest
                                                                                                                                       was held
      Adam Zarafshani                         c/o George Brothers Kincaid & Horton                Owner, control person,
                                              LLP                                                 and affilate of Panache
                                              402 West Seventh Street                             Development and Vesta
                                              Austin, TX 78701                                    Texas LLC, person acting
                                                                                                  for and on behalf and
                                                                                                  agent of the Debtor

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

          No
      Yes. Identify below.

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Debtor      RIC (Austin), LLC                                                                   Case number (if known)



             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      No
          Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation
   Romspen (Reomaster) Holdings Inc                                                                    EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 23, 2024
                                                                Gregory S. Milligan, CRO
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Chief Restructuring Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                         SOFA Exhibit 3
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Name                                                                Reason     Date       Sum of Amount
  Byrne Byrne & Company                                               Services 1/31/2024      -25,666.00
  Byrne Byrne & Company                                               Services   3/4/2024     -49,650.78
Byrne Byrne & Company Total                                                                   -75,316.78
  The Montgomery Design Consultancy, LLC                              Services 12/15/2023     -22,197.53
  The Montgomery Design Consultancy, LLC                              Services 1/15/2024      -15,000.00
  The Montgomery Design Consultancy, LLC                              Services 2/12/2024      -15,856.47
The Montgomery Design Consultancy, LLC Total                                                  -53,054.00
  HMG & Associates, Inc.                                              Services 11/17/2023     -49,360.00
HMG & Associates, Inc. Total                                                                  -49,360.00
  Borden Ladner Gervais, LLP                                          Services 1/23/2024      -46,808.93
Borden Ladner Gervais, LLP Total                                                              -46,808.93
  City of Austin (via conduit of The Montgomery Design Consultancy) Services 1/16/2024        -12,575.14
  City of Austin (via conduit of The Montgomery Design Consultancy) Services 2/12/2024        -14,748.18
  City of Austin (via conduit of The Montgomery Design Consultancy) Services     3/5/2024     -17,010.06
City of Austin (via conduit of The Montgomery Design Consultancy) Total                       -44,333.38
  Ranger Security Agency, LLP                                         Services 1/16/2024      -14,938.50
  Ranger Security Agency, LLP                                         Services 2/26/2024      -15,912.75
Ranger Security Agency, LLP Total                                                             -30,851.25
  First Insurance Funding                                             Insurance 1/19/2024     -22,808.92
First Insurance Funding Total                                                                 -22,808.92
  Richard Rodrigues and Skeith                                        Services 11/17/2023     -14,159.55
Richard Rodrigues and Skeith Total                                                            -14,159.55
  Elm Developments Corp.                                              Services 1/11/2024       -2,174.72
  Elm Developments Corp.                                              Services 1/16/2024       -3,493.79
  Elm Developments Corp.                                              Services 2/12/2024       -2,087.73
  Elm Developments Corp.                                              Services   3/4/2024      -3,673.40
Elm Developments Corp. Total                                                                  -11,429.64
  McCord Engineering, Inc                                             Services 11/17/2023      -8,551.47
McCord Engineering, Inc Total                                                                  -8,551.47
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                          SOFA EXHIBIT 4
Date       Transferee                                 Amount
2023-04-05 Panache Development                            46,758.29
2023-04-23 Panache Development                           349,886.28
2023-04-20 Panache Development                           208,629.69
2023-05-02 Panache Development                           349,977.15
2023-05-08 Panache Development                            31,615.41
2023-05-26 Panache Development                            54,928.10
2023-06-12 Panache Development                           350,232.03
2023-06-29 Panache Development                           133,493.38
2023-07-07 Panache Development                            66,508.19
2023-07-21 Panache Development                           350,042.30
2023-09-28 Panache Development                             5,672.96
2023-09-28 Panache Development                            15,269.36
           TOTAL                                       1,963,013.14
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                              UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF TEXAS
                                    ______________DIVISION
                                    AUSTIN


                                                                         24-10264
  In Re:                                            §          Case No. ________________________
                                                    §
                                                    §
                                                    §            Chapter ___________
                                                                             11
        RIC (Austin)
         _____________________                      §




                              LIST OF CREDITORS VERIFICATION


  The above named debtor(s) hereby verifies that the attached list of creditors is true and correct to the
  best of their knowledge.


                                                                             09/23/24
  _________________________________________________                          ______________________
  Debtor                                                                     Date
  By: Gregory S. Milligan
  Chief Restructuring Officer

  ________________________________________________                           ______________________
  Joint Debtor                                                               Date
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Label Matrix for local noticing        RIC (Austin) LLC 35                U.S. BANKRUPTCY COURT
0542-1                                     c/o CT Corporation System             903 SAN JACINTO, SUITE 322
Case 24-10264-cgb                          1999 Bryan St #900                    AUSTIN, TX 78701-2450
Western District of Texas                  Dallas, TX 75201-3140
Austin
Mon Sep 23 16:41:15 CDT 2024
AFMN Investments, LLC                      AREM                                  ATX Alarm Company
625 Norwood Tower, 114 West 7th Street     PO Box 170191                         820 Marbella Vista Way
Austin, TX 78701                           Austin, TX 78717-0012                 Leander, TX 78641-2505



Adam Zarafshani                            Airco Mechanical Ltd.                 AquaLogic Water Consulting
625 Norwood Tower, 114 West 7th Street     PO Box 1598                           1638 Hwy 620 Ste F-232
Austin, TX 78701                           Round Rock, TX 78680-1598             Austin TX 78734



Assessment Technologies                    Austin Porta Potty Rentals            Byrne Byrne & Company
40 NE Loop 410, Ste. 607                   212 N Blue Ridge Pkwy                 217 N Jefferson St Suite #450
San Antonio, Texas 78216-5883              Cedar Park, TX 78613-3059             Chicago, IL 60661-1316



C & C Restoration Services, Inc.           CNA Insurance                         Chaparral Professional Land Surveying
307 E Walnut St.                           PO Box 74007619                       5725 W Hwy 290, Suite 103
Hillsboro TX 76645-3332                    Chicago IL 60674-7619                 Austin TX 78735-8722



(p)CITY OF AUSTIN AUSTIN ENERGY            D & G Tree and Landscaping Services   D and D Specialty Services, LLC
ATTN COLLECTIONS DEPARTMENT                309 Amanecer Dr                       721 W.Briarwood Dr.
4815 MUELLER BLVD                          Lockhart TX 78644-2065                Brenham, TX 77833-6543
AUSTIN TX 78723-3573


Days End Lawn Sprinkler                    Doucet & Associates, Inc.             Elm Developments Corp.
P.O. Box 5893                              7401 B Highway 71 West, Suite 160     1931 Highway 7
Austin, TX 78763-5893                      Austin, TX 78735-8201                 Concord ON L4K 1V5



(p)FIRST INSURANCE FUNDING                 GeoSolutions                          Grass Works Lawn Care
450 SKOKIE BLVD SUITE 1000                 7011 West Bee Cave Rd.                11318 Trails End Rd.
NORTHBROOK IL 60062-7917                   Austin TX 78746-5011                  Leander TX 78641-5843



HMG & Associates, Inc.                     Kilgore Industries, LP                Koetter Fire Protection
12515 Research Blvd., Te 7-140             10050 Houston Oaks Drive              16069 Central Commerce Drive
Austin, TX 78759-2228                      Houston, TX 77064-3520                Pflugerville TX 78660-2005



MJ Structures, PLLC                        McCord Engineering, Inc.              (p)MCMINN LAND SURVEYING COMPANY CORP
3005 South Lamar Boulevard, Suite D109 &   916 Southwest Parkway East            4008 GREENMOUNTIAN LN
Austin TX 78704-4785                       College Station, TX 77840-4018        AUSTIN TX 78759-7570
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Munsch Hardt Kopf & Harr, P.C.         Office of U.S. Trustee
                                                           35             PRO-VIGIL INC.
500 N. Akard St., Suite 4000                 903 San Jacinto Blvd. #230          P.O. BOX 677107
Dallas TX 75201-6605                         Austin, TX 78701-2450               Dallas, TX 75267-7107



Panache Development and Construction, Inc.   Plan M Advisory Services            Quiddity
901 S. Mopac Expy Bldg 1 Ste 300             3876 Vandorf Sideroad               3100 Alvin Devane Blvd, Suite 150
Austin, TX 78746-5883                        Stouffville, ON, L4A 4K3            Austin Texas 78741-7409



RIC (Austin), LLC                            Ranger Security Agency, LLP         Richard Rodrigues and Skeith LLP
1717 West 6th Street, Suite 250              1258 Chad Dr.                       611 W 15th Street
Austin, TX 78703-4777                        Round Rock, TX 78665-2038           Austin, TX 78701-1513



Romspen Mortgage Limited Partnership         SCI Engineering Inc.                Safeguard Print and Promo
Two North Central Avenue, Suite 2100         130 Popint West Blvd.               330 Cranston Crescent
Phoenix, AZ 85004-4533                       St.Charles, MO 63301-4408           Midland, ON L4R 4V9



Shermco Industries Inc.                      Snow Environmental Solutions, LLC   Spaseco Inc.
2425 East Pioneer Dr.                        1375 Braided Rope Drive             9575 W. Higgins Road, Suite 700
Irving TX 75061-8919                         Austin Texas 78727-4630             Rosemont, IL 60018-4998



Spectrum Business                            StructuresPE, LLP                   Texas Disposal Systems
PO Box 60074                                 4315 Guadalupe St, Ste 301          PO Box 674080
City of Industry, CA 91716-0074              Austin, TX 78751-3644               Dallas TX 75267-4080



Texas Gas Service                            The Bug Master                      The Davey Tree Expert Company
PO Box 219913                                1912 Smith Rd,                      P.O. Box 94532
Kansas City, MO 64121-9913                   Austin, TX 78721-3547               Cleveland OH 44101-4532



The Montgomery Design Consultancy, LLC       Travis County Tax Office            United States Trustee - AU12
PO Box 300939                                PO Box 149328                       United States Trustee
Austin, Texas 78703-0016                     Austin, TX 78714-9328               903 San Jacinto Blvd, Suite 230
                                                                                 Austin, TX 78701-2450


Vesta Texas, LLC                             Ware Malcomb                        Waste Connections Lone Star Inc.
2901 Via Fortuna Bldg 6, Suite 450           Accounts Receivable, 10 Edelman     PO Box 17608
Austin, TX 78746-0007                        Irvine, CA 92618-4312               Austin, TX 78760-7608



Winstead PC                                  Wylie Engineering                   Eric Terry
2728 N. Harwood St., Suite 500               1 Greenway Plaza, Suite 1100        Eric Terry Law, PLLC
Dallas, TX 75201-1743                        Houston TX 77046-0104               3511 Broadway
                                                                                 San Antonio, TX 78209-6513
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Jay Ong                                Jonathan Petree 35                 Thomas D. Berghman
Munsch Hardt Kopf & Harr, P.C.                     Munsch Hardt Kopf & Harr, P.C.                       Munsch Hardt Kopf & Harr, P.C.
1717 West 6th Street                               500 N. Akard Street Suite 4000                       500 N. Akard St.
Suite 250                                          Dallas, TX 75201-6605                                Ste. 3800
Austin, TX 78703-4777                                                                                   Dallas, TX 75201-6659



                  The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                  by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


City of Austin                                      First Insurance Funding                              McMinn Land Surveying Company
PO Box 2267                                         450 Skokle Blvd., Ste 1000                           4008 Greenmountain Lane
Austin TX 78783-2267                                Northbrook, IL 60062-7917                            Austin, TX 78759




                The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Safeguard Business Systems Limited               (u)Sara Schaefer                                    End of Label Matrix
Lockbox T57624C                                     Austin Law Department                               Mailable recipients    62
PO Box 57624, Stn A                                 sara.schaefer@austintexas.gov                       Bypassed recipients     2
MISSING CITY, STATE, ZIP                                                                                Total                  64
